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UNITED STA'l`ES DISTRICT COURT
EAS'I`ERN DISTRICT ()F KENTUCKY
LEXINGTON DlVlSION
CIVIL ACTION NO. 5:]7-cv-415-JM1-I
Fr`:'ed E¢'ecfron feaf!y

In re: 10454 US llighway 460 East, Wellington, Kentucky 4038’!

UNITED S'TATES OF AMERICA PLAINTIFF
VS.
BRANDl J. VOGEL, E'l` AL DEFENDANTS
ENTRY OF DEFAUL'[`
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lt appearing that the Coinplaint herein was filed on Octt)ber 20, 201')'; the Defendants,
Brandi J. Vogel and the Unknovvn Spouse of Brandi J. Vogel, have been served via appointment
of Warning Ordel' Attorney; Defendant, Federal Home Loan Bank efCincinnati, has been served
by Summens, and that no answer or other pleading has been filed by said defendants as required
by law;

NOW_, THEREFORE, upon request of Plaintiff, default is hereby entered against the
Defendants, Brandi. J, Vugel1 Unknovvn Spouse of Brandi J. Vegel_1 and the Federal Holne Loan
Bank of`Cineinnati, as provided in Rule 55(a), Federal Rules ofCivil Procedure`

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’l`his the Q£y of <§§ 5 E,_¢Z 2018.

ROBERT R. CARR

U. S. DISTRICT COUR?;LE
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Deputy Clerk

